Case 1:17-cv-01847-RGA Document 35 Filed 01/30/18 Page 1 of 2 PageID #: 212




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

  CODING TECHNOLOGIES, LLC                   §
                                             §
        Plaintiff,                           §
                                             §
  vs.                                        §
                                             §       Case No: 1:17-CV-1847-RGA
  BNSF RAILWAY COMPANY                       §
                                             §
        Defendant.                           §
  ~~~~~~~~~~~~~~§


                                 STIPULATION TO DISMISS

        IT IS HEREBY STIPULATED AND AGREED by the undersigned counsel for Plaintiff

 Coding Technologies LLC ("Coding Technologies") and Defendant BNSF Railway Company

 ("BNSF"), pursuant to Rule 41(a)(l)(A)(ii) of the Federal Rules of Civil Procedure and subject to

 the approval of the Court, to dismiss all of Coding Technologies' claims WITH PREJUDICE and

 all ofBNSF's counterclaims WITHOUT PREJUDICE, with each party to bear its own attorney's

 fees and costs.
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    Case 1:17-cv-01847-RGA Document 35 Filed 01/30/18 Page 2 of 2 PageID #: 213




      Dated: January 29, 2018                Respectfully Submitted,

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      ATTORNEYS FOR CODING                                                        't
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